107 F.3d 878
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Hector GUERRERO-MARTINEZ, aka Hector Guerrero;  aka HectorMartinez-Guerrero, Defendant-Appellant.
    No. 96-50305.
    United States Court of Appeals, Ninth Circuit.
    Submitted Feb. 7, 1997.*Decided March 03, 1997.
    
      Before:  PREGERSON, REINHARDT, and WIGGINS, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Appellant appeals the district court's denial of his motion for nationwide discovery on his selective prosecution claim.  We have jurisdiction under 28 U.S.C. § 1291, and we affirm.
    
    
      3
      Appellant makes precisely the same argument and offers precisely the same evidence in support of his motion as we rejected in United States v. Candia-Veleta, 1996 WL 737418 (9th Cir.  Dec. 27, 1996).  Candia-Veleta is controlling.  Accordingly, the district court's denial of the appellant's motion is
    
    
      4
      AFFIRMED.
    
    
      
        *
         The panel unanimously finds this case suitable for submission on the record and briefs without oral argument.  Fed.R.App.P. 34(a);  Ninth Circuit Rule 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by Ninth Circuit Rule 36-3
      
    
    